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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
CONRAD SMITH, et al.,                     )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )
                                          )                     Case No. 21-cv-02265 (APM)
DONALD J. TRUMP, et al.,                  )
                                          )
      Defendants.                         )
_________________________________________ )
                                               ORDER

        Due to the start of trial in United States v. Rhodes, III, et al., No. 22-cr-15-APM (D.D.C.),

and the overlapping defendants in that case and this one, the court hereby stays this matter in the

interests of justice until the conclusion of trial in Rhodes.




Dated: September 30, 2022                                      Amit P. Mehta
                                                        United States District Court Judge
